Case 1:04-cr-10050-.]DT Document 39 Filed 06/15/05 Page 1 of 2 Page|D 43

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J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. BOX 3146

Jackson, TN 38303

J ames W. POWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames T()dd
US DISTRICT COURT

